                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

GARETH PARKS                                   *

                                Plaintiff,     *
          v.
                                               *       Civil No.: 1:18-cv-03092-TDC
BALTIMORE POLICE
DEPARTMENT, et al.,
                                               *

                                Defendants. *
*         *      *      *       *     *     *          *       *      *        *        *

            CONSENT MOTION TO EXTEND TIME IN WHICH TO FILE
     REPLY TO OPPOSITION TO MOTION TO DISMISS PLAINTIFF’S COMPLAINT

          Defendant Baltimore Police Department (“BPD”), by its undersigned counsel,

respectfully files this Consent Motion to Extend the Time in Which to File a Reply to the

Opposition to Motion to Dismiss Plaintiff’s Complaint, and in support thereof states as follows:

          1.     Plaintiff served his Complaint on Defendant BPD on October 17, 2018. ECF No.
9.

          2.     BPD filed a Motion to Dismiss the Complaint on February 11, 2019. ECF No. 52.

          3.     Plaintiff filed an Opposition to the Motion to Dismiss on March 18, 2019. ECF

No. 58.

          3.     BPD’s Reply is currently due on April 1, 2019. BPD respectfully requests a seven

(7) day extension of time, until April 8, 2019, to file its Reply.

          4.     Plaintiff’s counsel has consented to an extension of seven (7) days.

          5.     This motion is not filed for any improper purpose or delay.

          WHEREFORE, Defendant BPD, with consent of Plaintiff, respectfully requests an

extension of time of seven (7) days to file its reply, up to and including April 8, 2019. A

proposed Order is attached.
                                             Respectfully submitted,

                                                     /s/
                                             Kara K. Lynch
                                             Chief Solicitor
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                                             kara.lynch@baltimorepolice.org
                                             Attorney for BPD


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 26th day of March, a copy of the foregoing Consent

Motion for Extension of Time was filed with the United States District Court for the District of

Maryland by electronic filing. All counsel of record being served via the Court’s electronic

filing system.

                                                                  /S/
                                                     Kara K. Lynch (No. 29351)
